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                           UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF CONNECTICUT


JACK MONTAGUE,
     Plaintiff,

v,
                                                           CIVIL ACTION
YALE UNIVERSTIY, ANGELA GLEASON,                           No. 3:16-cv-00885
and JASON KILLHEFFER,
      Defendants.



                   AFFIDAVIT OF DUSTIN SIMCOX IN SUPPORT OF
                PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION

        I, Dustin Simcox, having been duly sworn, do hereby state as follows:

1.      I am over eighteen (18) years of age and believe in the obligations of an oath.

2.      I am Chief Executive Officer, President, and lead Agent at Whitecox & Lyons Sports

Management, and am certified to represent players in the NBA, the WNBA, and FIBA

International, I have been recognized as a top five agent internationally. Since October of 2015, I

have also served as Director of Eurobasket Summer League ("ESL"), one of the most prestigious

summer basketball camps in the country.

3.      I became acquainted with the plaintiff, Jack Montague, in or around April of 2016 when

he was accepted to the ESL. Under Eurobasket rules, Division I players who average ten points

per game can go to ESL for free because of their status as high-value players. Mr. Montague

qualified on this basis.

4.      I researched Mr. Montague before he came to the camp and discovered, through various

online news outlets, that he had been expelled from Yale for alleged sexual misconduct. When I

met Mr. Montague, I advised him that this issue would likely be a problem for many of the
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professional basketball teams that would otherwise look at him seriously as a recruit. This was

especially true because Mr. Montague is a point guard; point guards are plentiful, so when faced

with the choice of a point guard who has no issues off the court and one who does, a team will

choose the player with no issues off the court, so long as he is of equal skill.

5.      I watched Mr. Montague during the course of the camp and determined he was a good

player. I advised him that it would be a good idea for him to do a German tour in which 14

players go to Germany and play 10 games against professional "pro-B" teams. The pro-B teams

are third division teams, and they are the teams that normally pick up rookies from the United

States. My feeling was that if he showed the coaches of these teams how well he could play, they

would be willing to take a chance on him, even with his school expulsion.

6.      Mr. Montague played very well during the course of the tournament. In one game, he

scored the final eight points, leading the team to a narrow two-point victory over the German

league team.

7.      A pro-A coach (the next level up from pro-B) subsequently reached out to me and asked

if Mr. Montague was available, because he was definitely interested in having Mr. Montague on

his team.

8.      I arranged a Skype call with the coach that evening. After speaking with him at length, it

became obvious that he had discovered Mr. Montague's expulsion, and the reason for it. We

discussed the fact that Mr. Montague had a pending lawsuit. The coach was concerned about the

lawsuit, whether there would be a criminal case against Mr. Montague, and whether his

reputation would negatively affect the reputation of the team as a whole. I did my best to

reassure him that Mr. Montague would be a dedicated player and that he was an upstanding

person as well. The coach never questioned Mr. Montague's ability to play.



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9.          The coach told me that he would need ten days to evaluate things. When I did not hear

anything from him after ten days, I again contacted him, and he told,me he needed a few more

days. I never heard from him again.

10.         As a professional who deals with hundreds of coaches per year, I can confidently say that

it is extremely rare to get no response after there have been initial discussions about recruiting a

player for a team. When a team contacts an agent about a player and seeks that player out, it is

almost always a done deal. In this case, however, Mr. Montague's expulsion from Yale, and the

reason for the expulsion, caused the deal to disintegrate.



            I declare under penalty of perjury that the foregoing is true and correct.




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Before me personally appeared Dustin Simcox, signer of the foregoing instrument, and he
acknowledged the same to be his free act and deed, for the purposes contained herein.



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                        OFFICIAL SEAL
                      ANDREA L ROESEL                           Notary Public
                 Notary Public - Slate of Illinois
              My Commission Expires May 30, 2017
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